             Case 2:25-cv-00127-JCC                Document 32   Filed 01/22/25     Page 1 of 2




 1                                                                       District Judge John C. Coughenour

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 7                                  UNITED STATES DISTRICT COURT FOR THE
                                      WESTERN DISTRICT OF WASHINGTON
 8                                              AT SEATTLE

 9 STATE OF WASHINGTON, et al.,
                                                            CASE NO. 2:25-cv-00127-JCC
10                             Plaintiffs,
                                                            NOTICE OF INTENT TO OPPOSE
                               v.
11                                                          PLAINTIFF STATES’ MOTION FOR A
     DONALD J. TRUMP, in his official capacity as           TEMPORARY RESTRAINING ORDER
     President of the United States, et al.,
12
                              Defendants.
13

14

15           Pursuant to Local Civil Rule 65(b)(5), Defendants, by and through undersigned counsel, hereby

16 file this Notice of Intent to Oppose Plaintiff States’ Motion for a Temporary Restraining Order (Dkt.

17 No. 10). Defendants anticipate filing an opposition brief setting forth why a Temporary Restraining Order

18 is inappropriate in advance of tomorrow’s hearing.

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23
      Notice of Intent to Oppose Plaintiff                                           U.S. DEPARTMENT OF JUSTICE
24    States’ Motion for a Temporary Restraining Order                      CIVIL DIVISION, FEDERAL PROGRAMS BRANCH
                                                                                          1100 L STREET, NW
      2:25-cv-00127-JCC - 1                                                             WASHINGTON, DC 20005
                                                                                             202-514-3374
            Case 2:25-cv-00127-JCC                Document 32         Filed 01/22/25       Page 2 of 2




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 2          DATED this 22nd day of January, 2025.

 3                                                      Respectfully submitted,

 4                                                      BRETT A. SHUMATE
                                                        Acting Assistant Attorney General
                                                        Civil Division
 5
                                                        ALEXANDER K. HAAS
 6
                                                        Branch Director
 7                                                      s/ Brad P. Rosenberg
                                                        BRAD P. ROSENBERG
 8                                                      (D.C. Bar No. 467513)
                                                        Special Counsel
 9
                                                        U.S. Department of Justice
10                                                      Civil Division, Federal Programs Branch
                                                        1100 L Street, NW
11                                                      Washington, DC 20005
                                                        Phone: 202-514-3374
12                                                      Fax: 202-616-8460
                                                        Email: brad.rosenberg@usdoj.gov
13
                                                        Attorneys for Defendants
14

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     Notice of Intent to Oppose Plaintiff                                                   U.S. DEPARTMENT OF JUSTICE
24   States’ Motion for a Temporary Restraining Order                              CIVIL DIVISION, FEDERAL PROGRAMS BRANCH
                                                                                                 1100 L STREET, NW
     2:25-cv-00127-JCC - 2                                                                     WASHINGTON, DC 20005
                                                                                                    202-514-3374
